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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

 ZEST LABS, INC. f/k/a INTELLEFLEX                §
 CORPORATION; and ECOARK                          §
 HOLDINGS, INC.                                   §
                                                  §
                Plaintiffs,                       §        Civil Action No. 4:18-cv-500-JM
                                                  §
 v.                                               §
                                                  §
                                                             JURY TRIAL DEMANDED
 WALMART INC. f/k/a                               §
 WAL-MART STORES, INC.                            §
                                                  §
                Defendant.


                               AGREED SCHEDULING ORDER

        It is hereby ORDERED that the following schedule of deadlines is in effect until further

order of this Court:

 Date                  Event

 [Proposed]            Jury Trial

 June 1, 2020          Parties shall be prepared to start the evidentiary phase of trial
                       immediately following jury selection.

 [Proposed]            9:00 a.m. Jury selection

 June 1, 2020

 [Proposed]            10:00 a.m. Pretrial conference before Judge Moody

 May 21, 2020

 May 8, 2020           Deadline to file notice of time requested for (1) voir dire; (2) opening
                       statements; (3) direct and cross examinations; and (4) closing arguments

 May 8, 2020           Deadline to file responses to motions in limine

 May 1, 2020           Deadline to file motions in limine and pretrial objections
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May 1, 2020         Deadline to file joint final pretrial order, joint proposed jury instructions
                    with citation to authority and form of the verdict for jury trial.

April 24, 2020      Deadline to exchange objections to pretrial disclosures (Witness List,
                    Deposition Designations, and Exhibit List) that were exchanged on April
                    17, 2018.

                    For video depositions, each party is responsible for preparation of the
                    final edited video in accordance with their parties’ designations after the
                    resolution of, or the Court’s rulings on, objections.

April 17, 2020      Deadline to file notice of request for daily transcript and/or real time
                    reporting of court proceedings due.

April 17, 2020      Deadline to exchange pretrial disclosures (Witness List, Deposition
                    Designations, and Exhibit List) by the Party without the Burden of Proof.
                    Deadline to exchange objections to pretrial disclosures (Witness List,
                    Deposition Designations, and Exhibit List) that were exchanged on April
                    3, 2018.

                    Each party who proposes to offer deposition testimony shall serve a
                    disclosure identifying the page and line numbers to be offered.

April 3, 2020       Deadline to exchange pretrial disclosures (Witness List, Deposition
                    Designations, and Exhibit List) by the Party with the Burden of Proof.

                    Each party who proposes to offer deposition testimony shall serve a
                    disclosure identifying the page and line numbers to be offered.

[Proposed]          Hearing on any remaining dispositive motions (including Daubert)

March 17, 2020

February 19, 2020   Deadline to file reply to any dispositive motions and/or any other
                    motions that may require a hearing (including Daubert).

February 12, 2020   Deadline to file response to any dispositive motions and/or any other
                    motions that may require a hearing (including Daubert).

January 22, 2020    Deadline to file dispositive motions and any other motions that may
                    require a hearing (including Daubert)

December 20,        Expert Discovery deadline
2019

November 22,        Deadline for parties to designate rebuttal expert witnesses. Rebuttal
2019                expert reports due.
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October 24, 2019   Deadline for parties with burden of proof designate expert witnesses.
                   Expert reports due for party with burden of proof.

October 15, 2019   Fact Discovery deadline

June 1, 2019       Deadline to file amended pleadings

March 1, 2019      Deadline for Parties to substantially complete document production

January 11, 2019   Deadline to exchange initial privilege logs (parties will supplement
                   privilege logs if additional materials are withheld based on privilege
                   after this date)

November 9, 2018   Deadline to exchange initial disclosures

November 9, 2018   Deadline for Parties to submit proposed discovery order

November 2, 2018   Deadline for Parties to submit proposed protective order

October 26, 2018   Deadline for Walmart’s Answer & Counterclaims



      IT IS SO ORDERED this ___ day of October 2018.



                                                         ___________________________

                                                              United States District Judge
